        Case 3:11-cr-01056-H                        Document 100                  Filed 03/12/13              PageID.224               Page 1 of 2


    """AO 245D (CASD) (Rev. 121I I) Judgment in a Criminal Case for Revocations
                Sheet 1


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                                              UNITED STATES DISTRICT COURT      .        , c',. E ';                                           ,'~
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                                                    SOUTHERN DISTRICT OF CALIFORNIA                                     N()
                    UNITED STATES OF AMERICA                                        JUDGMENT IN A CRl~INAL CASE                                       DEPllT Y
                                         V.                                         (For Revocation of Probation or Supervised Release)
                   JOSHUA ARTURO FLORES (1)                                         (For Offenses Committed On or After November I, 1987)
                 also known as: Joshua Andres Flores
                                                                                    Case Number: llCR1056-H

                                                                                     Caitlin Elizabeth Howard, Federal Defenders, Inc.
                                                                                    Defendant's Attorney
    REGISTRA TION No. 24774-298

o   THE DEFENDANT:
     m  admitted guilt to violation of allegation(s) No...,;5;..l,.,.;;6..:.•.::;an.::;d;;..;,.7.;...-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found in violation of allegation(s) No.                                                            after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):

    Allegation Number            Nature of Violation
            5         Committed a federal, state or local offense (nv I)
           6, 7       Unlawful use of controlled substance (nv3)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                         2      of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Untted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                    MARCH 11,2013
                                                                                    Date of Imposition of Sentence




                                                                                    I11f1~~F~
                                                                                    UNITED STATES DISTRICT JUDGE




                                                                                                                                                IICRI056-H
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AO 245D (CASD) (Rev. 12/11) Judgment in a Criminal Case for Revocations
           Sheet 2 - Imprisonment

                                                                                                           Judgment    Page       2     of         2
 DEFENDANT: JOSHUA ARTURO FLORES (1)
 CASE NUMBER: IICR1056-H
                                                                 IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          II MONTHS AS FOLLOWS:
          3 MONTHS TO RUN CONSECUTIVE TO CASE 12CR3652-WQH.
          8 MONTHS TO RUN CONCURRENT WITH CASE 12CR3652-WQH.



    o    The court makes the following recommendations to the Bureau of Prisons:




     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Oa.m.          Op.m.    on _ _ _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before -----------------------------------------------------------
           o    as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                          RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                              to

 at ___________________ , with a certified copy of this judgment.


                                                                                                         UNITED STATES MARSHAL

                                                                             By
                                                                                  -------------D-E~P-U-T-Y-UN--IT-E-·D-S-T-A-T-E-S-M-AR--S-H-AL-------------




                                                                                                                                             IICR1056-H
